Case 1:23-cv-00108-LMB-JFA Document 526 Filed 02/07/24 Page 1 of 7 PageID# 7891




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division



 UNITED STATES, et al.,

                                Plaintiffs,

                - against -                            Civil Action No. 1:23-cv-00108
                                                       (LMB) (JFA)
 GOOGLE LLC,

                                Defendant.


   GOOGLE LLC’S MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
  MOTION TO COMPEL GOOGLE TO PRODUCE ALL DATA AND INFORMATION
      REFERRED TO AND/OR RELIED ON BY ITS TESTIFYING EXPERTS

        Fact discovery is over. Yet on Friday, January 26, at 7:03 pm ET, Plaintiffs demanded

 that, within three business days, Google produce all hyperlinked documents contained in 299

 documents that Google’s experts cited in their expert reports or identify where those hyperlinks

 were previously produced. See ECF No. 519 (“Mot.”) Ex. 1. When Google declined to do so,

 Plaintiffs moved to compel that production, arguing that the Expert Stipulation (ECF No. 106) and

 ESI Order (ECF No. 142) require it. Mot. 1. They do not.

        The Expert Stipulation requires production or identification of only those materials that

 experts actually referred to or relied on, and Google’s experts did not refer to or rely on the

 hyperlinks that Plaintiffs seek. The ESI Order does not extend Google’s obligations past the long-

 closed period for fact discovery, and Plaintiffs’ demands exceed the “reasonable and

 proportionate” requests that were authorized during fact discovery, especially because they

 received all of the 299 documents months or years ago. Further, Plaintiffs’ motion would prejudice

 Google by giving their experts access to documents that Google’s experts lacked; by requiring


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Case 1:23-cv-00108-LMB-JFA Document 526 Filed 02/07/24 Page 2 of 7 PageID# 7892




 Google to expend more resources on identifying, collecting, reviewing, and producing potentially

 thousands of additional documents (over and above the six million that have already been

 produced); and by setting a precedent for additional demands in the coming months. The motion

 should be denied.

   I.   Google Has Satisfied Its Obligations Under the Expert Stipulation.

        The Expert Stipulation does not require Google to produce the hyperlinked documents that

 Plaintiffs demand nor to identify them in previous productions. The relevant provision in the

 Stipulation, paragraph 4.1.2, obligated Google to identify by Bates number all documents that its

 experts “referred to” in their reports or “relied upon” in forming their opinions. See ECF No. 106,

 ¶ 4.1.2. Google complied with that obligation by ensuring that its experts’ reports cited the

 documents referred to or relied on by each expert. Indeed, Plaintiffs concede that “Google’s

 experts cited to 299 internal Google documents,” and they do not and cannot claim that Google

 failed to produce any of the cited documents. See Mot. 2.

        Another provision in the Expert Stipulation, paragraph 4.1.1, required production of “[a]

 copy of the data or other information referred to in the Testifying Expert’s report or declaration

 and/or relied on by the Testifying Expert in forming the Testifying Expert’s opinions (to the extent

 not already produced in discovery), including, but not limited to, all data and programs underlying

 any calculations, including all computer programs or code necessary to recreate any data,

 intermediate data, calculations, estimations, tables, or graphics, and including the intermediate

 working- data files that are generated from any initial (‘raw’) data files and used in performing the

 calculations appearing in the report.” ECF No. 106, ¶ 4.1.1. Although Plaintiffs quote part of

 paragraph 4.1.1, Mot. 2, the full provision makes plain that it covers “data” and similar technical

 materials—not the hyperlinked documents that Plaintiffs seek; documents are covered by

 paragraph 4.1.2. And in any event, paragraph 4.1.1 explicitly exempts materials “already produced

                                                  2
Case 1:23-cv-00108-LMB-JFA Document 526 Filed 02/07/24 Page 3 of 7 PageID# 7893




 in discovery” from re-production, and Google has already produced all of the documents that its

 experts referred to or relied upon.

        In claiming an entitlement to additional hyperlinked documents, Plaintiffs argue that those

 hyperlinks were “referred to and incorporated into the document[s] on which” Google’s experts

 relied in forming their opinions. Mot. 3. But the Expert Stipulation does not require Google to

 produce or identify hyperlinks “referred to and incorporated into” the documents on which its

 experts relied; it requires production or identification of only the documents on which Google’s

 experts actually referred to in their reports or relied upon in forming their opinions. See ECF No.

 106, ¶¶ 4.1.1, 4.1.2. Because Google already has produced and identified all of those documents,

 the Expert Stipulation does not require Google to go further and produce or identify hyperlinks

 within those documents.

  II.   The ESI Order Does Not Require Google To Produce Additional Hyperlinked
        Documents.

        Contrary to Plaintiffs’ alternative argument, the ESI Order does not require Google to

 produce additional hyperlinked documents. The parties jointly moved for entry of the ESI Order

 “[i]n order to facilitate the efficient and expeditious exchange of ESI during the discovery

 process.” ECF No. 140, ¶ 4 (emphasis added). Although fact discovery has closed, Plaintiffs

 contend that the ESI Order entitles them to keep demanding that Google produce additional

 documents not only today, but also during summary judgment briefing and other pretrial

 proceedings. See Mot. 3 n.1 (“This may not be Plaintiffs’ last request for hyperlink documents,

 particularly if documents cited by Google in support of summary judgment or trial exhibits contain

 hyperlinks to other documents.”). Nothing in the ESI Order suggests that it was intended to




                                                 3
Case 1:23-cv-00108-LMB-JFA Document 526 Filed 02/07/24 Page 4 of 7 PageID# 7894




 override the Court’s scheduling orders and extend fact discovery beyond the explicitly established

 deadlines, as Plaintiffs’ reading would imply.1

        Even if the ESI Order gave Plaintiffs the right to request some additional materials—and

 it does not—they would be allowed to make only “reasonable and proportionate requests” for

 hyperlinked documents, ECF No. 142 § K, and their present requests are neither.                The

 proportionality standard is grounded in Rule 26(b)(1)’s limitation on discovery to what is

 “proportional to the needs of the case,” and Plaintiffs have not articulated any need for the

 hyperlinked documents. They do not need any additional documents to understand the bases for

 the opinions offered by Google’s experts because Google’s experts did not rely on any documents

 that have not already been identified in the experts’ reports and produced to Plaintiffs. Nor is it

 reasonable simply to demand production of every hyperlink in every document on which Google’s

 experts did rely, particularly when Plaintiffs concede that they have “agreed that Google need not

 provide all hyperlinked documents or information as a matter of course.” See Mot. 4. Plaintiffs’

 demands are especially unreasonable because they have had access to all of the 299 documents

 since early October,2 yet they chose not to request the hyperlinks in those documents until now.

 And Plaintiffs were not unaware of these documents; they cited 58 of them in their own expert

 reports.




 1 Although the ESI Order does not require further production of hyperlinked documents at this
 stage of the case, Google is currently meeting and conferring in good faith with Plaintiffs about an
 earlier request for hyperlinks within 197 documents in an attempt to narrow that request to a
 reasonable and proportionate scope. Google will continue to attempt to reach an agreement with
 Plaintiffs about that earlier request, regardless of how the present motion is resolved.
 2In fact, 284 of those documents were produced by September 8, 2023, and 227 of them were
 produced to the DOJ before Plaintiffs even filed their complaint.


                                                   4
Case 1:23-cv-00108-LMB-JFA Document 526 Filed 02/07/24 Page 5 of 7 PageID# 7895




 III.   Plaintiffs’ Request Would Prejudice Google.

        In addition to misconstruing the Expert Stipulation and ESI Order, Plaintiffs ignore the

 prejudice that their requests would inflict on Google. First, Plaintiffs demand to enlarge the

 universe of documents to which they and their experts would have access beyond the set of already

 produced documents that was available to Google’s experts in preparing their reports. Plaintiffs

 already have the benefit of submitting a second set of expert reports, and it would be unfair to

 allow their experts to inform the opinions in their rebuttal reports based on a larger corpus of

 evidence than was available to Google’s experts. And while Plaintiffs claim that it is “only fair

 and equitable for Plaintiffs to have the full universe of information referenced” in Google’s expert

 reports, Mot. 5, they already have that “full universe.” Their motion seeks more—not simply

 documents “referenced” in Google’s expert reports, but documents that are hyperlinked within the

 documents referenced in those reports—and there is nothing unfair about limiting Plaintiffs to the

 same documents that were available to Google’s experts, documents that have been in Plaintiffs’

 possession for some time.

        Second, Google would have to undertake a burdensome process to research each of the

 hyperlinks in each of the 299 documents requested by Plaintiffs. That process is not as simple as

 “merely click[ing] the hyperlink.” Mot. 5.3 Google would first have to review each of the 299




 3 Plaintiffs attempt to gloss over the burdens that their demands would impose by comparing
 hyperlinked documents to attachments in document families. Mot. 1. But the ESI Order—to
 which Plaintiffs agreed—expressly rejects this approach: “For the avoidance of doubt, documents
 that are linked are not part of the same family for purposes of this Order.” ECF No. 142, at 13;
 see also Nichols v. Noom Inc., 20-CV-3677 (LGS) (KHP), 2021 WL 948646, at *4 (S.D.N.Y. Mar.
 11, 2021) (noting plaintiffs’ contention “that hyperlinks are akin to attachments and should be
 produced as part of a document ‘family,’” but finding that hyperlinked documents are not
 attachments and denying plaintiffs’ motion).


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Case 1:23-cv-00108-LMB-JFA Document 526 Filed 02/07/24 Page 6 of 7 PageID# 7896




 documents to identify all of the links in each of them,4 and a single document can contain dozens

 of links. For instance, when investigating Plaintiffs’ earlier request for Google to produce all

 hyperlinks from a smaller set of 197 documents, Google discovered that those documents included

 more than 2,200 links. Decl. ¶ 10. The first step is a manual process that requires a person to

 review a native copy of the document and identify all hyperlinks contained therein. Decl. ¶ 8.

 Once the hyperlinks have been identified, Google must search for each of those hyperlinks within

 the universe of documents collected and processed into the review platform, or otherwise collect

 and process the hyperlinked document. Id. For those that were not previously produced, Google

 must conduct a privilege review, and then its third-party vendor will process the production of the

 links (to the extent they are not privileged). Id. Plaintiffs’ glib reference to “click[ing] the

 hyperlink” vastly underappreciates the burdens involved in responding to each of their demands

 for more and more hyperlinked documents.5

        Third, Plaintiffs clearly intend to compound the prejudice to Google by continuing to

 demand more hyperlinked documents “if documents cited by Google in support of summary

 judgment or trial exhibits contain hyperlinks to other documents.” Mot. 3 n.1. To the extent that

 Plaintiffs view their motion as a dress rehearsal for a long-running engagement, Google

 respectfully requests that the Court make clear that this show must not go on. Fact discovery is



 4 Declaration of Vaishnavi Palavalli In Support of Google LLC’s Memorandum of Law in
 Opposition to Plaintiffs’ Motion to Compel Google to Produce All Data and Information Referred
 to and/or Relied on by Its Testifying Experts, ¶¶ 8-9 (hereinafter “Decl.”) (attached hereto as
 Exhibit A).
 5Although it “has conducted similar searches previously at Plaintiffs’ request,” Mot. 5, Google’s
 willingness to accommodate Plaintiffs’ requests for hyperlinks in a smaller number of documents
 earlier in the litigation demonstrates that Google has complied with its discovery obligations. It
 does not support Plaintiffs’ demands for hyperlinks from nearly one hundred times that number of
 documents months after fact discovery closed. See Mot. Ex. 4 (November 2023 request for
 hyperlinks in 3 documents).

                                                 6
Case 1:23-cv-00108-LMB-JFA Document 526 Filed 02/07/24 Page 7 of 7 PageID# 7897




 closed, and Google should have no obligation to produce any documents in this case over and

 above the six million that Plaintiffs have already received.

                                          CONCLUSION

        For the foregoing reasons, Google respectfully requests that the Court deny Plaintiffs’

 motion to compel.

  Dated: February 7, 2024                        Respectfully submitted,

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